
241 P.3d 769 (2010)
238 Or. App. 340
STATE of Oregon, Plaintiff-Respondent,
v.
Allisa MAZZOLA, Defendant-Appellant.
05CR0010; A139255.
Court of Appeals of Oregon.
Argued and Submitted April 29, 2010.
Decided October 27, 2010.
Joshua B. Crowther, Senior Deputy Public Defender, argued the cause for appellant. *770 With him on the brief was Peter Gartlan, Chief Defender, Office of Public Defense Services.
Harry B. Wilson, Assistant Attorney General, argued the cause for respondent. On the brief were John R. Kroger, Attorney General, Jerome Lidz, Solicitor General, and David B. Thompson, Senior Assistant Attorney General.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and EDMONDS, Senior Judge.
PER CURIAM.
Defendant appeals her conviction for possession of a controlled substance, former ORS 475.992(4)(a) (2003), renumbered as ORS 475.840(3)(a) (2005), assigning error to the trial court's denial of her motion to suppress evidence of a marijuana growing operation that was discovered in a mobile home on her property. On appeal, defendant and the state raise the same arguments as those raised and resolved in State v. Mazzola (A139257), 238 Or.App. 201, ___P.3d ___ (2010), with regard to the trial court's denial of the suppression motion. Further, the evidentiary record in this case is identical to that in Mazzola (A139257) because defendant and the defendant in that case, her husband, Frank Mazzola, consolidated their cases for the purposes of the motion to suppress hearing and for trial. Accordingly, and for the same reasons, we hold in this case, as we did in Mazzola (A139257), that the trial court erred when it denied defendant's motion to suppress.
Reversed and remanded.
